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               11                           UNITED STATES DISTRICT COURT
               12                          CENTRAL DISTRICT OF CALIFORNIA
               13
               14      THRASIO, LLC,                        Case No. 2:21-CV-1337 (CBM) (SK)
               15                     Plaintiff,            PLAINTIFF’S OPPOSITION TO
                                                            DEFENDANTS’ MOTION TO STAY
               16            v.                             PROCEEDINGS PENDING APPEAL
               17      BOOSTED COMMERCE, INC.,
                       BOOSTED ECOMMERCE, INC., and         Date: July 13, 2021
               18      CHARLES CHANARATSOPON,               Time: 10:00 a.m.
                                                            Courtroom: 8B, 8th Floor
               19                     Defendants.           Judge: Hon. Consuelo B. Marshall
               20
                                                            Action Filed: February 21, 2021
               21                                           Trial Date: None set
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                   1                              PRELIMINARY STATEMENT
                   2            A stay is not warranted. Defendants rightfully acknowledge that a stay
                   3   pending appeal of a denial of a motion to compel arbitration is not automatic in the
                   4   Ninth Circuit, and requires an analysis of the four traditional injunctive relief factors.
                   5   Here, each of these factors weighs against a stay.
                   6            First, Defendants’ appeal does not have a “strong likelihood of success on the
                   7   merits,” because Defendants do not raise a “serious legal question” for appellate
                   8   review.     Defendants’ motion to compel arbitration was based on the strained
                   9   argument that they could invoke an arbitration clause in a contract to which Thrasio
               10      undisputedly was not a party simply because the complaint referenced that contract.
               11      This is not a close question or an issue of first impression, there is no split between
               12      courts, and no constitutional or other serious legal questions are raised.            The
               13      Defendants simply are unhappy with the way the Court applied well-established legal
               14      principles. That is not a reason to stay proceedings.
               15               Second, proceeding with discovery in this matter will not irreparably harm
               16      Defendants because they are not entitled to arbitrate their claims, and thus incurring
               17      the expense associated with pre-trial litigation is not a harm that they are entitled to
               18      avoid.
               19               Though the Court need not address the third or fourth discretionary factors
               20      given Defendants’ failure to satisfy the first two, these factors also lean in Thrasio’s
               21      favor. Courts have recognized that delays in resolving claims result in harm to
               22      plaintiffs, and the baseline policy favoring arbitration has no application to non-
               23      parties to an arbitration agreement.
               24               Defendants’ novel alternative argument—that the Court should stay this matter
               25      pending resolution of their as-yet unfiled sanctions motion—lacks any legal support.
               26      Defendants’ proposed motion is utterly baseless, and filing it would be improper.
               27      Defendants do not and cannot dispute that Chanaratsopon downloaded Thrasio’s
               28      confidential information and founded a competing company that copies it. Those
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                   1   facts are more than sufficient to justify the filing of these claims.    The question
                   2   whether the information that Defendants misappropriated was protected by trade
                   3   secret law, or not, is one of the ultimate issues to be tried in this case. Defendants
                   4   cannot avoid litigation by simply denying that they are liable.
                   5
                   6                                    BACKGROUND
                   7         The relevant factual background is described in detail in Thrasio’s Opposition
                   8   to Boosted Commerce’s (“Boosted”) Motion to Compel Arbitration. [ECF 31.] In
                   9   sum, Thrasio maintains two confidential processes, the Standard Diligence Process
               10      and Standard Integration Processes, used in acquiring and growing Amazon third-
               11      party sellers. [Compl. ¶¶ 3-5, 45-46.]    Defendant Charles Chanaratsopon gained
               12      access to the Processes through his investments in special-purpose vehicles managed
               13      by Upper90, a venture capital firm. [Compl. ¶¶ 52, 56.] He acknowledged his
               14      obligation to keep Thrasio’s information confidential on numerous occasions.
               15      [Compl. ¶¶ 54-61.] Chanaratsopon bulk-downloaded the documents comprising the
               16      Processes on numerous occasions, founding Boosted—a direct Thrasio competitor—
               17      in December 2019. [Compl. ¶¶ 62-69.]
               18            On February 21, 2021, Thrasio filed a complaint against Chanaratsopon, and
               19      a complaint against Boosted and Boosted Ecommerce, Inc., each alleging
               20      misappropriation of trade secrets and confidential information and unfair trade
               21      practices by the respective defendants.1 [ECF 1.] On March 29, 2021, Defendants
               22      filed motions to compel arbitration in both Actions. [ECF 27.] On May 18, 2021,
               23      the Court indicated at oral argument that it was denying the motions to compel
               24      arbitration, which was confirmed in a minute order the same day. [ECF 38.] On May
               25      26, 2021, the Court issued its written order denying the motion. [ECF 39.] As of
               26
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               27        Thrasio initially sued Chanaratsopon in the Southern District of Texas and sued
                       Boosted in this district. When Chanaratsopon confirmed that he was amenable to
               28      jurisdiction in California, the parties consented to transfer the Texas Action to this
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                       district and consolidate it with the Boosted action. [ECF 35.]
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                   1   yet, the Defendants have not answered the Complaint, and have refused to participate
                   2   in a Rule 26(f) conference to discuss the scope of discovery.
                   3         Defendants filed a notice of appeal of the denial of the motions to compel
                   4   arbitration on June 10, 2021. [ECF 41-42.] Defendants filed the present motion to
                   5   stay the next day. [ECF 43.]
                   6
                   7                                       ARGUMENT
                   8   I.    All Four Discretionary Factors Weigh in Thrasio’s Favor
                   9         A stay pending appeal from the denial of a motion to compel arbitration is not
               10      automatic. [ECF 43 (“Mem.”) at 3 (citing Britton v. Co-op Banking Group, 916 F.2d
               11      1405, 1411-12 (9th Cir. 1990)).] In considering whether to grant such a stay, courts
               12      analyze: “(1) whether the stay applicant has made a strong showing that he is likely
               13      to succeed on the merits; (2) whether the applicant will be irreparably injured absent
               14      a stay; (3) whether issuance of the stay will substantially injure the other parties
               15      interested in the proceeding; and (4) where the public interest lies.” Glob. Live Events
               16      v. Ja-Tail Enters., LLC, 2014 WL 1830998, at *7 (C.D. Cal. May 8, 2014) (quoting
               17      Hilton v. Braunskill, 481 U.S. 770, 776 (1987)). The first two factors—the likelihood
               18      of success on the merits and risk of irreparable harm—“are the most critical.” Id.
               19      “The party requesting a stay bears the burden of showing that the circumstances
               20      justify an exercise of that discretion.” Nken v. Holder, 556 U.S. 418, 433–34 (2009).
               21            A.     Defendants’ Appeal Is Not Likely To Succeed
               22            To warrant a stay, Defendants must “at minimum show that [their] appeal
               23      presents ‘a substantial case on the merits.” Zaborowski v. MHN Gov't Servs., Inc.,
               24      2013 WL 1832638, at *2 (N.D. Cal. May 1, 2013) (quoting Leiva-Perez v. Holder,
               25      640 F.3d 962, 965 (9th Cir. 2011)); see also Glob. Live Events, 2014 WL 1830998,
               26      at *7 (“[A]t a minimum, a [stay applicant] must show that there is a substantial case
               27      for relief on the merits”). In assessing whether this factor supports a stay, Courts
               28      consider whether the appeal raises “serious legal questions.” Zaborowski, 2013 WL
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                   1   1832638, at *2. Serious legal questions include those affecting constitutionality,
                   2   matters of genuine first impression, or some other pressing legal issue. See Vasquez
                   3   v. Libre by Nexus, Inc., 2018 WL 9868570, at *2 (N.D. Cal. Nov. 20, 2018) (“In the
                   4   Ninth Circuit, a serious legal question often concerns constitutionality.”); Morse v.
                   5   Servicemaster Glob. Holdings, Inc., 2013 WL 123610, at *3 (N.D. Cal. Jan. 8, 2013)
                   6   (explaining a “substantial case on the merits” typically involve “genuine matters of
                   7   first impression” or “address a pressing legal issue”). By contrast, appeals which
                   8   merely challenge a district court’s application of settled legal standards do not raise
                   9   serious legal questions. See, e.g., Stiner v. Brookdale Senior Living, Inc., 383 F.
               10      Supp. 3d 949, 954 (N.D. Cal. 2019) (no serious legal question whether agent’s
               11      conduct bound principal to arbitration agreement, where court held based on “well-
               12      settled contract and agency principles”).
               13            Here, Defendants do not identify such a legal question, and instead merely
               14      rehash their prior arguments about the application of the equitable estoppel doctrine
               15      and hoping that the Ninth Circuit will view the case differently than this Court did,
               16      on de novo review. [See Mem. at 4-5.] That effort is not likely to succeed: Thrasio
               17      is not a party to the contract containing the arbitration clause (the “Operating
               18      Agreement”), and this Court correctly recognized that equitable estoppel does not
               19      apply because Thrasio never “knowingly exploited” the Operating Agreement. [ECF
               20      39, at 6]. Indeed, if necessary, Thrasio could prove that Chanaratsopon knew his
               21      conduct was wrongful without referring to the Operating Agreement at all: Thrasio
               22      alleges “thirteen occasions where Defendant Chanaratsopon accessed the dataroom,
               23      and in doing so, clicked to acknowledge a message to users which indicated” that the
               24      information in the Dataroom was strictly confidential—none of which involve an
               25      arbitration clause. [ECF 39, at 6 (citing Compl. ¶ 61).]
               26            Where, as here, the appellants merely challenge the application of settled law,
               27      Courts routinely deny stays. See, e.g., Guifu Li v. A Perfect Franchise, Inc., 2011
               28      WL 2293221, at *4 (N.D. Cal. June 8, 2011) (appellant argued only that the court
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                   1   misapplied the test, not that it applied the wrong test); Morse, 2013 WL 123610, at
                   2   *3 (appeal challenged only application of basic contract-law principles); Glob. Live
                   3   Events, 2014 WL 1830998, at *7 (appellant challenged ruling based on simple
                   4   contract interpretation).
                   5         As supposed evidence of a legal question, Defendants point to this Court’s note
                   6   that it found Whole Body Research, LLC v. Digest MD, LLC, 2018 WL 3830902
                   7   (C.D. Cal. July 3, 2018) unpersuasive. (Mem. at 5.) But Whole Body Research does
                   8   not represent an alternate legal standard for the doctrine of equitable estoppel, but
                   9   rather only application of the settled legal standard to a different set of facts. The
               10      persuasiveness (or not) of Whole Body Research to the facts here is thus not a
               11      constitutional issue, question of first impression, or other pressing legal question.
               12      Even if it were persuasive, Whole Body Research is just as likely to support
               13      affirmance: the Whole Body Research court rejected arbitration of the plaintiff’s
               14      intellectual property claims, recognizing that the fact that a contract “may be
               15      relevant” to a claim is not a sufficient basis to apply equitable estoppel. Id. at *6.2
               16      That same rationale would apply here.
               17            In a similar vein, Defendants cite Jones v. Deutsche Bank AG, 2007 WL
               18      1456041 (N.D. Cal. May 17, 2007), where the Court found that a substantial legal
               19      question existed relating to equitable estoppel, justifying a stay. Id. at *1. But the
               20      question presented in that case was very narrow and does not apply here. Jones
               21      concerned a tax shelter promotion scheme; the plaintiff (a signatory) contended that
               22      defendant bank (a non-signatory) “acted in concert” with signatories in promoting
               23      the scheme. Id. Defendants marshalled several cases in which similar tax shelter
               24      cases had been deemed arbitrable, and several others in which they had not,
               25
                       2
               26        Though the court in Whole Body Research did apply equitable estoppel to the non-
                       signatory’s CFAA claim, that claim “require[d] an analysis of the scope of the
               27      authorization … under the Agreement.” 2018 WL 383092, at *8. That reasoning is
                       irrelevant here, where Thrasio’s claims exist independently of the Operating
               28      Agreement and there are more than a dozen other examples of Chanaratsopon
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                       acknowledging his obligation to keep Thrasio’s trade secrets confidential.
ATTORNEYS AT LAW
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                   1   suggesting that courts were truly split on the breadth of the equitable estoppel
                   2   doctrine in that context. Id. at *2. Here, by contrast, Defendants’ position is
                   3   unsupported by any decisions; courts are not split at all concerning application of
                   4   equitable estoppel in this context.
                   5         Defendants also assert Thrasio received a “direct benefit” substantial enough
                   6   to warrant equitable estoppel. [Mem. at 6 (citing Legacy Wireless Servs., Inc. v.
                   7   Human Capital, LLC, 314 F. Supp. 2d 1045 (D. Or. 2004), and World Grp. Secs.,
                   8   Inc. v. Allen, 2007 WL 4168572 (D. Ariz. Nov. 20, 2007)).] This argument again
                   9   disputes only the application of a settled legal test and does not raise a serious legal
               10      question. Regardless, the cases cited by Defendants are inapplicable. In both, the
               11      non-signatory plaintiffs were the ultimate recipients of fees calculated by, and
               12      specified in, the contracts containing the arbitration clauses. See Legacy Wireless
               13      Servs., Inc., 314 F. Supp. 2d at 1057 (non-signatory received half the fees specified
               14      in the contract and “also allegedly played an important role in the consummation of
               15      the agreement and in assisting [the signatory in] fulfilling its contractual
               16      obligations”); World Grp. Secs., Inc., 2007 WL 4168572, at *4 (non-signatory
               17      “expressly assumed” the benefits of the contract and regularly received fees required
               18      to be paid pursuant to contract). Here, by contrast, the Operating Agreement was not
               19      the agreement whereby the limited partnership invested in Thrasio, and Thrasio thus
               20      did not benefit directly from it.3
               21            Even if Chanaratsopon could identify a pertinent disputed legal question
               22      (which he has not), Boosted unquestionably could not do so, as it (unlike
               23      Chanaratsopon) is not a signatory to the Operating Agreement. Defendants do not
               24      even attempt to identify a basis for Boosted to appeal the denial of its motion to
               25      compel arbitration, and cite no authority remotely suggesting that a non-signatory to
               26
                       3
               27        In addition, Legacy Wireless and World Group were both decided before Murphy
                       v. DirecTV, Inc., 724 F.3d 1218, 1229 (9th Cir. 2013), in which the Ninth Circuit
               28      clarified that “equitable estoppel of [non-signatory] third parties in this context is
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                       narrowly confined.”
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                   1   an arbitration provision can enforce that provision against another non-signatory.4
                   2         B.     Defendants Will Not Suffer Irreparable Harm
                   3         The second factor focuses on whether the appellant will suffer irreparable harm
                   4   if the stay is denied and it is required to continue litigating while the appeal is
                   5   pending. The sole premise underlying Defendant’s argument on this factor—that a
                   6   party who is entitled to arbitrate is irreparably harmed if forced to undergo the costs
                   7   of litigation (Mem. at 7)—has little force where the moving party “was never entitled
                   8   to arbitrate the claim in the first place.” Volkswagen Grp. of Am., Inc. v. Saul
                   9   Chevrolet, Inc., 2015 WL 5680317, at *4 (C.D. Cal. Sept. 25, 2015). The irreparable
               10      harm factor therefore depends on the Defendants’ likelihood of success on the appeal.
               11      Id.
               12            Where, as here, Defendants fail to make a strong showing that they are likely
               13      to succeed on the appeal, and rely entirely on anticipated pre-trial litigation expense
               14      as the basis for irreparable harm, this factor does not support issuance of a stay. See,
               15      e.g., DeFrees v. Kirkland, 2012 WL 12885114, at *12 (C.D. Cal. July 20, 2012), aff'd
               16      in part and remanded in part on other grounds, 579 F. App’x 538 (9th Cir. 2014)
               17      (“[O]ther district courts have concluded that the addition of some pretrial litigation
               18      costs does not constitute irreparable harm.”); Bradberry v. T-Mobile USA, Inc., 2007
               19      WL 2221076, at *4 (N.D. Cal. Aug. 2, 2007) (“[C]ost[s] of some pretrial litigation
               20      does not constitute an irreparable harm.”).
               21            Defendants cite cases in which the courts determined that anticipated pre-trial
               22      expenses justified a stay pending appeal. [Mem. at 7.] But most of these were class
               23      actions. See, e.g., Hansen v. Rock Holdings, Inc., 2020 WL 3867652, at *3 (E.D.
               24      Cal. Jul. 9, 2020) (TCPA); Zabarowski, 2013 WL 1832638, at *2 (FLSA); Murphy
               25
                       4
               26        Even assuming Chanaratsopon has met the “lower threshold” of demonstrating
                       “serious legal issues” raised by his appeal, he is still required to “demonstrate that
               27      the balance of hardships under the second and third factors tilts sharply in [his] favor”
                       in order for a stay to issue. Zaborowski, 2013 WL 1832638, at *2; accord Morse,
               28      2013 WL 123610, at *2 (same). As explained below, Defendants do not (and cannot)
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                       establish that the balance of hardships weighs “sharply” toward a stay.
ATTORNEYS AT LAW
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                   1   v. DirecTV, Inc., 2008 WL 8608808, at *2 (C.D. Cal. Jul. 1, 2008) (consumer claims);
                   2   Stern v. Cingular Wireless Corp., 2006 WL 2790243, at *2 (C.D. Cal. Sept. 11, 2006)
                   3   (FCA and consumer claims). These cases are inapposite, as the “burdens associated
                   4   with discovery in a putative class action are substantially greater than in an individual
                   5   arbitration.” Roe v. SFBSC Mgmt., LLC, 2015 WL 1798926, at *3 (N.D. Cal. Apr.
                   6   17, 2015) (citation omitted); see also Morse, 2013 WL 123610, at *3 (in case
                   7   involving potential non-class claims, that “the money and time a party must expend
                   8   in [pretrial litigation], while burdensome, does not alone constitute irreparable
                   9   injury”).5
               10            Finally, even in the unlikely event that Defendants were to prevail on their
               11      appeal, the costs incurred in discovery would not be wasted, as this discovery could
               12      be leveraged to make the ensuing arbitration even more efficient. See Vasquez, 2018
               13      WL 9868570, at *2 (N.D. Cal. Nov. 20, 2018) (noting “there would be minimal
               14      additional costs incurred for discovery because the discovery can be used to address
               15      the merits if arbitration proceeds”).
               16            C.     Thrasio Will Suffer If This Litigation Is Stayed
               17            The third factor asks the Court to consider whether the non-moving party will
               18      suffer harm absent a stay. Although this court need not inquire as to the final two
               19      factors, in light of Defendants’ failure to satisfy the first two more crucial factors of
               20      this test, see Mount Graham Coal. v. Thomas, 89 F.3d 554, 558 (9th Cir. 1996), as
               21      amended (July 23, 1996), the failure to expeditiously resolve this dispute would result
               22      in harm to Thrasio.
               23            It is a bedrock legal principle that cases should proceed efficiently and not be
               24      5
                         The two non-class action cases Defendants cite are similarly unpersuasive. In
               25      Eberle v. Smith, 2008 WL 238450, at *3 (S.D. Cal. Jan. 29, 2008), the appellate
                       raised significant factual questions as to which version of the relevant contract was
               26      operative (and therefore whether the arbitration agreement contained in a prior
                       version was applicable); there is no such dispute in this case, where all parties agree
               27      that Thrasio is not a party to the Operating Agreement. And in Ali v. JPMorgan
                       Chase Bank, 2014 WL 12691084, at *2 (N.D. Cal. Mar. 10, 2014), though the court
               28      did grant a stay, it also “allow[ed] the parties to participate in a limited amount of
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                       discovery,” including requests for production of documents.
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                   1   derailed by procedural distractions. See Toshiba Tec Corp. v. Katun Corp., 2016 WL
                   2   9137646, at *5 (C.D. Cal. Sept. 21, 2016) (denying stay pending review from
                   3   separate tribunal where continued litigation would promote “quick[] and efficient[]”
                   4   resolution). And Ninth Circuit courts recognize that “delaying a plaintiff's day in
                   5   court” can constitute “a substantial injury to the plaintiff.” Bradberry, 2007 WL
                   6   2221076, at *4 (N.D. Cal. Aug. 2, 2007); cf. Cesca Therapeutics Inc. v. SynGen Inc.,
                   7   2017 WL 1174062, at *5 (E.D. Cal. Mar. 30, 2017) (holding trade secret plaintiff
                   8   would suffer injury from stay in part because “Defendants [would] benefit from
                   9   freely marketing and commercializing Plaintiff's trade secrets during the stay
               10      period”); Gen. Elec. Co. v. Liang, 2014 WL 1089264, at *4 (C.D. Cal. Mar. 19, 2014)
               11      (denying stay of discovery in trade secret dispute, as plaintiff has “significant interest
               12      in determining whether, as if so to whom, its trade secrets may have been disclosed,”
               13      and explaining that “[d]iscovery can be vital” to allow plaintiffs to pursue their
               14      entitled relief).
               15             D.     The Public Interest Does Not Favor Defendants
               16             The final factor—public interest—also weighs against Defendants.
               17      Defendants invoke the “strong public policy favoring arbitration” (Mem. at 9), but
               18      this is irrelevant, as this “strong public policy … does not extend to those who are
               19      not parties to an arbitration agreement.” Jones v. Jacobson, 195 Cal. App. 4th 1, 17
               20      (2011), as modified (June 1, 2011); cf. E.E.O.C. v. Waffle House, Inc., 534 U.S. 279,
               21      294 (2002) (court must “look first to whether the parties agreed to arbitrate a dispute,
               22      not to general policy goals, to determine the scope of the agreement”).
               23             Even if the general policy favoring arbitration were relevant, “[j]ust because a
               24      strong federal policy exists favoring arbitration does not mean that all claims must
               25      be compelled to arbitration.” Ferguson v. Corinthian Colleges, 2012 WL 27622, at
               26      *5 (C.D. Cal. Jan. 5, 2012). The factor carries little weight in a case like this one, as
               27      overreliance on public policy “would force the four-factor … test to collapse into a
               28      single factor that would always favor staying proceedings pending appeal in the hope
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                   1   they would be sent to arbitration.” Id.
                   2         Because Defendants have not raised a serious legal question or demonstrated
                   3   irreparable harm, this Court should default to a more fundamental interest: the
                   4   expeditious and efficient resolution of claims. See Toshiba Tec Corp., 2016 WL
                   5   9137646, at *5 (C.D. Cal. Sept. 21, 2016); Fed. R. Civ. P. 1 (federal rules should be
                   6   “construed, administered, and employed by the court and the parties to secure the
                   7   just, speedy, and inexpensive determination of every action and proceeding”).
                   8   II.   Defendants’ Unfiled Rule 11 Motion Does Not Warrant A Stay
                   9         Defendants contend, in the alternative, that this Court should stay these
               10      proceedings to resolve their as-yet unfiled Rule 11 motions. Defendants cite no cases
               11      for this novel procedural maneuver, because none exist.
               12            Defendants’ proposed motions, which they wave around but have not filed for
               13      strategic reasons best known to them, are utterly meritless, and this alternative
               14      argument is plainly a last-ditch effort to avoid discovery by any means. If Defendants
               15      do choose to file their Rule 11 motions (which would be unfortunate and sanctionable
               16      in itself), Thrasio will oppose them vigorously, but in all events there is no basis to
               17      stay discovery.
               18            Indeed, Defendants admit (because they must) that Chanaratsopon
               19      downloaded the files that Thrasio claims as trade secrets, and do not dispute (because
               20      they cannot) that he contemporaneously founded a competing business that
               21      unquestionably copies Thrasio’s business model. These facts alone easily justify the
               22      filing of the claims in these consolidated actions. See, e.g., Yeiser Rsch. & Dev. LLC
               23      v. Teknor Apex Co., 281 F. Supp. 3d 1021, 1048–49 (S.D. Cal. 2017) (plaintiff stated
               24      claim for misappropriation of garden hose design, based on allegation that defendant
               25      “was not in the business of compact hoses” but surreptitiously developed a near-
               26      identical competing product). Thrasio cannot be faulted because it does not yet have
               27      the evidence demonstrating forensically precisely how Defendants used Thrasio’s
               28      trade secrets to unfairly compete. That is what discovery is for.
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                   1         And Defendants’ assertion that Thrasio publicly disclosed its trade secrets is
                   2   simply false.    Thrasio’s acknowledgement of the existence of its trade secret
                   3   Processes is not equivalent to disclosure of the trade secret itself and does not negate
                   4   Thrasio’s claims. See, e.g., Cedars Sinai Med. Ctr. v. Quest Diagnostic Inc., 2018
                   5   WL 2558385, at *4-5 (C.D. Cal. Feb. 12, 2018) (disclosure of “some information”
                   6   about trade secrets did not negate secrecy); Nextdoor.com, Inc. v. Abhyanker, 2014
                   7   WL 1648473, at *5-6 (N.D. Cal. Apr. 23, 2014) (question of fact whether startup’s
                   8   conducting of testing in a given neighborhood negated trade secrecy protection over
                   9   the selection of that testing location).
               10            Defendants should answer the complaint,6 and the case should proceed to
               11      discovery.
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               25        Following the denial of the motion to compel arbitration on May 26, 2021,
                       Defendants were obligated to serve their answers by no later than June 9, 2021. See
               26      Fed. R. Civ. P. 12(a)(4)(A) (“[I]f the court denies the motion or postpones its
                       disposition until trial, the responsive pleading must be served within 14 days after
               27      notice of the court's action.”). Defendants defaulted on this obligation, waited two
                       days, and then filed the instant motion for stay pending appeal. As such, their
               28      answers are past due and should be served without further delay.
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                   1                                   CONCLUSION
                   2         For the foregoing reasons, this Court should deny Defendants’ motion to stay
                   3   pending appeal.
                   4
                       Dated: June 22, 2021                COOLEY LLP
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